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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                     CASE NO.: 22-11124-BKC-AJC
                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

AVA CELESTE BENJAMIN

_____________________________/
DEBTOR

                      NOTICE OF CONTINUED CONFIRMATION HEARING

    YOU ARE HEREBY NOTIFIED that the Confirmation Hearing has been continued to July 26, 2022
at 01:35 pm. The hearing will be conducted by video conference. For instructions, please refer to the
General Procedures for Hearings By Video Conference on the Court’s website. To participate in the
hearing, you must register for the video conference no later than 3:00 pm one business day before the
date of the hearing. To participate, click on the following link or manually enter the following link in a
browser: https://www.zoomgov.com/meeting/register/vJIsdO6orj8tEykAkNLdQ8XQPhWjIJbyMzo

   I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Continued
Confirmation Hearing was mailed to those parties listed below on this 30th day of June, 2022.




                                                          /s/ Nancy K. Neidich
                                                         _____________________________________
                                                          NANCY K. NEIDICH, ESQUIRE
                                                          STANDING CHAPTER 13 TRUSTEE
                                                          P.O. BOX 279806
                                                          MIRAMAR, FL 33027-9806
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                                                  NOTICE OF CONTINUED CONFIRMATION HEARING
                                                                    CASE NO.: 22-11124-BKC-AJC

                                   SERVICE LIST

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTOR
AVA CELESTE BENJAMIN
2246 NW 61ST STREET
MIAMI, FL 33142-7829

ATTORNEY FOR DEBTOR
JOSE BLANCO, ESQUIRE
102 E 49TH ST
HIALEAH, FL 33013

JOSE BLANCO, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
